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                              EXHIBIT 23
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


  UNITED STATES, et al.,

                                 Plaintiffs,

                 - against -                                Civil Action No. 1:23-cv-00108-
                                                            LMB-JFA
  GOOGLE LLC,

                                 Defendant.




              GOOGLE LLC’s FIRST SET OF REQUESTS FOR PRODUCTION
                             TO THE UNITED STATES

         Pursuant to Federal Rules of Civil Procedure 26 and 34 (“Federal Rules”), Defendant

  Google LLC hereby requests that Plaintiff United States produce documents responsive to the

  requests set forth below.

                                          INSTRUCTIONS

         1.      In addition to the specific instructions set forth below, these Requests incorporate

  the instructions set forth in Federal Rules 26 and 34, the Local Rules of the United States District

  Court for the Eastern District of Virginia (“Local Rules”), the Stipulation and Order Regarding

  Discovery Procedure (“ESI Order”) (to be entered), and the Confidentiality Order (to be entered),

  or the operative version of those Orders in place at the time production is made. Subject to a valid

  claim of privilege, please produce the entire document if any part of that document is responsive.

         2.      Please produce all requested documents in Your possession, custody, or control, or

  available to You, or to which You may gain access through reasonable effort, including




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  Your complaint) or has used Ad Tech Products or Display Advertising during the Relevant Period,

  produce all documents reflecting its document retention policies and any changes thereto.

  REQUEST FOR PRODUCTION NO. 37: Separately for each agency and department of the

  United States that is a “buyer[] of open web display advertising” (as alleged in Paragraph 341 of

  Your complaint) or has used Ad Tech Products or Display Advertising during the Relevant Period,

  produce all documents concerning information and advice about Display Advertising (including

  studies, analyses, and reports) received from advertising consultants or Agencies and information

  shared with advertising consultants or Agencies about Display Advertising.

  REQUEST FOR PRODUCTION NO. 38: All documents that You received from the Federal

  Trade Commission concerning any investigation, whether formal or informal, that You or the

  Federal Trade Commission have considered or conducted since 2007 into Google’s Ad Tech

  Products or Display Advertising business, including documents concerning Google’s acquisitions

  of DoubleClick, AdMob, Invite Media, or AdMeld.

  REQUEST FOR PRODUCTION NO. 39: All documents You exchanged with the Federal

  Trade Commission concerning the initiation of any investigation, whether formal or informal,

  related to Google’s Ad Tech Products or Display Advertising business, including preliminary

  investigation memoranda and communications concerning the clearance process.

  REQUEST FOR PRODUCTION NO. 40: All documents concerning any questions, concerns,

  inquiries, or complaints, whether formal or informal, related to Assistant Attorney General

  Jonathan Kanter’s participation in the Investigation and/or this Action, including the decision to

  bring this Action, in light of his (a) prior representation of providers of Ad Tech Products and/or

  organizations connected to Display Advertising; or (b) actual or perceived adversity to Google.




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  Dated: March 27, 2023               Respectfully Submitted,



                                      _________________________
                                      Eric Mahr (pro hac vice)
                                      Tyler Garrett (VSB # 94759)
                                      FRESHFIELDS BRUCKHAUS
                                      DERINGER US LLP
                                      700 13th Street NW, 10th Floor
                                      Washington, DC 20005
                                      Telephone: (202) 777-4500
                                      Facsimile: (202) 777-4555
                                      Email: eric.mahr@freshfields.com

                                      CRAIG C. REILLY (VSB # 20942)
                                      209 Madison Street
                                      Alexandria, VA 22314
                                      Telephone: (703) 549-5354
                                      Facsimile: (703) 549-5355
                                      Email: Craig.reilly@ccreillylaw.com

                                      Counsel for Google LLC




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